  Case: 4:24-cv-00520-JAR          Doc. #: 49 Filed: 07/01/24          Page: 1 of 1 PageID #:
                                             1152



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

STATE OF MISSOURI, et al.,                       )
                                                 )
        Plaintiffs,                              )
                                                 )
   v.                                            )           No. 4:24-cv-00520-JAR
                                                 )
JOSEPH R. BIDEN, Jr., et al.,                    )
                                                 )
        Defendants.                              )

                                             ORDER

        This matter is before the Court on Plaintiffs’ Motion to Clarify the Preliminary

Injunction. ECF No. 48. The Court issued its Preliminary Injunction on June 24, 2024. ECF

No. 36. Defendants filed their Notice of Compliance on June 28, 2024. ECF No. 44. Plaintiffs

then filed this Motion on June 29, 2024. Defendants are directed to file a response.

        Accordingly,

        IT IS HEREBY ORDERED that Defendants shall file any response to Plaintiffs’

Motion to Clarify the Preliminary Injunction no later than July 8, 2024.

        Dated this 1st day of July, 2024.



                                                 ________________________________
                                                 JOHN A. ROSS
                                                 UNITED STATES DISTRICT JUDGE
